Case 3:16-md-02738-MAS-RLS            Document 32507     Filed 06/03/24     Page 1 of 2 PageID:
                                           184793



                       IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY



  IN RE JOHNSON & JOHNSON                     Civil No. 3:16-md-2738-MAS-RLS
  TALCUM POWDER PRODUCTS
  MARKETING, SALES, PRACTICES
  AND PRODUCTS LIABILITY
  LITIGATION

  This document relates to:
  Juanita Dugan
  Case No. 3:24-cv-03414



                               AMENDED NOTICE OF FILING

        Notice is hereby given pursuant to Case Management Order No. 3 (Filing of Short Form

 Complaints) that the Amended Short Form Complaint and Jury Demand was filed on 05/31/2024

 on behalf of Juanita Dugan, Individually.


 DATED: 06/03/2024                           Respectfully submitted,

                                             By: /s/ Daniel J. Thornburgh

                                             Daniel J. Thornburgh
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                                               1
Case 3:16-md-02738-MAS-RLS             Document 32507         Filed 06/03/24     Page 2 of 2 PageID:
                                            184794


                                 CERTIFICATE OF SERVICE

        I hereby certify that on 06/03/2024, a copy of the foregoing NOTICE OF FILING was

 filed via the Court’s CM/ECF electronic filing system. Notice of this filing will be sent by

 operation of the Court’s electronic filing system to all parties indicated on the electronic filing

 receipt. Parties may access this filing through the Court’s system.


                                                 Respectfully submitted,

                                                 By: /s/ Daniel J. Thornburgh

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